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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                         NO. 4:09CR00232-003 SWW

SHANE LEE REEVES


                                            ORDER

      The above entitled cause came on for hearing March 2, 2012 on

government’s petitions [docs #109, #112, #116] to revoke the probation

previously granted this defendant in the United States District Court for

the   Eastern    District     of   Arkansas.         Based    upon     the   admissions    of

defendant, the Court found that defendant has violated the conditions of

probation without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the petitions to revoke

probation    are    granted      and   the     probation      previously     granted     this

defendant, be, and it is hereby, revoked.

      IT    IS   FURTHER    ORDERED     that      defendant    shall    serve   a   term   of

imprisonment of TWELVE (12) MONTHS & 1 DAY in the custody of the Bureau

of Prisons. The Court recommends that defendant be placed in a facility

in Texarkana, TX or Millington, TN; and that defendant participate in

substance abuse treatment or program during incarceration.

      There will be TWO (2) YEARS of supervised release to follow.                         All

standard    conditions      of   supervision       will   apply.        In   addition,     the

defendant    will   be     subject     to   the    following    special      conditions     of

supervised release:
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1. Defendant shall be subject to drug testing and shall participate,
under the guidance and supervision of the U. S. Probation Officer,
in a substance abuse treatment program which may include testing,
out-patient counseling, and/or residential treatment. Further,
defendant shall abstain from the use of alcohol throughout the
course of any treatment.

2. Defendant shall not obtain employment at an institution insured
by the FDIC or at a Federal Credit Union.

3. Defendant is not a legal resident of this district. Therefore,
the period of supervised release is to be administered     by the
district where defendant is a legal resident and/or the district
where a suitable release plan has been developed.

4. Defendant’s outstanding special penalty assessment is due     and
payable immediately.

The defendant is remanded to custody.

IT IS SO ORDERED this 8th day of March 2012.



                                  /s/Susan Webber Wright

                                  United States District Judge
